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                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF DELAWARE

DAVID A. ALLEMANDI,
a/k/a Hermione Kelly Ivy Winter,

              Plaintiff,

              V.                    Civ. No. 17-1432-LPS


DR. MUNOZ,et al..

              Defendants,




David A. AUemandi,a/k/a Hermione Kelly Ivy Winter,James T. Vaughn Correctional Center,
Smyrna,Delaware,Pro Se Plaintiff.




                              MEMORANDUM OPINION




February 5,2018
Wilmington, Delaware
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